    Case 17-26917-KCF             Doc 35     Filed 12/28/17 Entered 01/02/18 09:51:23                  Desc Main
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     798407
     PHELAN HALLINAN DIAMOND & JONES, PC
     400 Fellowship Road, Suite 100                                                 Order Filed on December 28, 2017
                                                                                                 by Clerk
     Mt. Laurel, NJ 08054                                                                U.S. Bankruptcy Court
     856-813-5500                                                                        District of New Jersey

      Attorneys for Secured Creditor: FEDERAL
     NATIONAL MORTGAGE ASSOCIATION
     ("FANNIE MAE")
     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)

     In Re:                                                           Case No: 17-26917 - KCF

     CHRISANNE WENC-SMUDIN A/K/A CHRISANNE                            Hearing Date: 12/13/2017
     M. WENC
                                                                      Judge: Kathryn C. Ferguson




                         CONSENT ORDER RESOLVING OBJECTION TO CONFIRMATION

              The consent order set forth on the following pages, numbered two (2) through three (3) is
              hereby ORDERED.




DATED: December 28, 2017
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NJID 798407
PHELAN HALLINAN DIAMOND & JONES, PC
400 Fellowship Road, Suite 100
Mt. Laurel, NJ 08054
856-813-5500
Attorneys for FEDERAL NATIONAL MORTGAGE ASSOCIATION ("FANNIE
MAE")

                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NEW JERSEY
IN RE:
         CHRISANNE WENC-SMUDIN                        CASE NO. 17-26917 - KCF
         A/K/A CHRISANNE M. WENC
                                                      CHAPTER 13

     Debtor                                           CONSENT ORDER RESOLVING
                                                      OBJECTION TO CONFIRMATION

                                                      HEARING DATE: 12/13/2017

     This Consent Order pertains to the property located at 142 PASADENA ROAD,
WHITING, NJ 08759-4102, mortgage account ending with “3194”;

        THIS MATTER having been brought before the Court by Daniel E. Straffi, Esquire,
Esquire attorney for debtor, CHRISANNE WENC-SMUDIN upon the filing of a Chapter 13 Plan,
FEDERAL NATIONAL MORTGAGE ASSOCIATION ("FANNIE MAE") by and through its
attorneys, Phelan Hallinan Diamond & Jones, PC having filed an Objection to the Confirmation of
said Chapter 13 Plan and the parties having subsequently resolved their differences; and the Court
noting the consent of the parties to the form, substance and entry of the within Order; and for other
and good cause shown:

                        28th                    December
         IT IS on the                  day of                      , 2017, ORDERED as follows:

              1.     The secured creditor, FEDERAL NATIONAL MORTGAGE
ASSOCIATION ("FANNIE MAE"), shall be permitted to file a secured Proof of Claim after
Confirmation. The arrears reflected in said to-be-filed secured Proof of Claim will be
approximately $269,855.99.

        2.      The Trustee is authorized not to pay the secured arrearage claim (Proof of Claim to
be filed shortly) of FEDERAL NATIONAL MORTGAGE ASSOCIATION ("FANNIE MAE"). for
the purpose of allowing the Debtor to apply and potentially complete a loan modification. Should
the Debtor qualify for a loan modification, the loan modification must be approved no later than
March 1, 2018.

        3.      If Loan Modification is approved, FEDERAL NATIONAL MORTGAGE
ASSOCIATION ("FANNIE MAE") shall file an Amended Proof of Claim showing the amount of
arrears paid to date by the Trustee.
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        4.     If a loan modification is not approved by March 1, 2018, the debtor shall do one of
 the following: 1) file a Modified Plan to cure the arrearage claim of Movant; or 2) file a Modified
 Plan to surrender the property subject to said claim; or 3) a Notice to Convert to Chapter 7; or 4)
 a Notice to Dismiss Case.

        5.      Debtor acknowledges that the monthly post-petition mortgage payment amount is
subject to change in accordance with the terms of the note and mortgage.

       6.      Debtor shall tender adequate protection payments to FEDERAL NATIONAL
MORTGAGE ASSOCIATION ("FANNIE MAE") as required by the Loss Mitigation Program
(LMP). The adequate protection payments will continue only while the Debtor is in LMP. The
Loss Mitigation Program is scheduled to terminate on January 4, 2018. If the Debtor fails to make
adequate protection payments, FEDERAL NATIONAL MORTGAGE ASSOCIATION ("FANNIE
MAE") will file an Application for Early Termination of LMP. Once the Loss Mitigation Program
terminates on January 4, 2018, or an earlier date confirmed by the court, the Debtor shall cease
tendering the reduced adequate protection payments and begin making regular monthly mortgage
payments to FEDERAL NATIONAL MORTGAGE ASSOCIATION ("FANNIE MAE") as
required by the mortgage and note.

 7.     This Consent Order shall be incorporated in and become a part of any Order Confirming
 Plan in the herein matter.



The undersigned hereby consent to the form,
Content and entry of the within Order:

PHELAN HALLINAN DIAMOND & JONES, PC
Attorneys for Secured Creditor:
FEDERAL NATIONAL MORTGAGE ASSOCIATION ("FANNIE MAE")

/s/ Sherri J. Braunstein
Sherri J. Braunstein, Esq.
Phelan Hallinan Diamond & Jones, PC
400 Fellowship Road, Suite 100
Mt. Laurel, NJ 08054
Tel: 856-813-5500 Ext. 47923
Fax: 856-813-5501
Email: sherri.Braunstein@phelanhallinan.com

                                              Dated: _12/14/2017__________

_Daniel E. Straffi_______________             Dated: _12/28/2017__________
Daniel E. Straffi, Esquire
Attorney for debtor
